USCA4 Appeal: 25-1397    Doc: 1        Filed: 04/15/2025    Pg: 1 of 2


                                                                     FILED: April 15, 2025

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                     ___________________

                                          No. 25-1397
                                     (5:24-cv-00731-M-RJ)
                                     ___________________

        JUDGE JEFFERSON GRIFFIN

                     Plaintiff - Appellee

        v.

        ALLISON RIGGS

                     Intervenor - Appellant

        and

        NORTH CAROLINA STATE BOARD OF ELECTIONS

                     Defendant

         and

        NORTH CAROLINA ALLIANCE FOR RETIRED AMERICANS; VOTEVETS
        ACTION FUND; TANYA WEBSTER-DURHAM; SARAH SMITH; JUANITA
        ANDERSON

                     Intervenors


        This case has been opened on appeal.

        Originating Court                   United States District Court for the Eastern
                                            District of North Carolina at Raleigh
        Originating Case Number             5:24-cv-00731-M-RJ
USCA4 Appeal: 25-1397    Doc: 1          Filed: 04/15/2025    Pg: 2 of 2



        Date notice of appeal filed in      04/14/2025
        originating court:
        Appellant(s)                        Allison Riggs
        Appellate Case Number               25-1397
        Case Manager                        Rachel Phillips
                                            804-916-2702
